            Case 1:21-cv-04561-ELR Document 1 Filed 11/04/21 Page 1 of 26




                         IN THE UNITED STATES DISTRICT COUR ~ ---:::-FIL-::::ED:-::IN-:--;::C::-;:-LE~RK~'S~OF~FIC~E--7
                          FOR NORTHERN DISTRICT OF GEORGIA                           u.s.o.c. -At1anta
                                   ATLANTA DIVISION
                                  STATE OF GEORGIA                                NOV O4 202,


Samuel Ghee

Plaintiff                                                           Civil Action File No#

Vs.

COMCAST CABLE
COMMUNICATIONS, LLC,                                                    1 : 21 -CV- 4 5 6 1
Magistrate Albert L. Norton, personal capacity

Defendants


                          Conspiracy to Conspire with a Private Party
                         Under the Color of State law under 42 USC 1983


                                              Jurisdiction

        1. This Court has jurisdiction pursuant to 28 U.S.C. 1331 , 28 U.S.C. 1343

        2. This venue is proper in the Atlanta Division of the U.S. District Court in Northern

            District of Georgia pursuant to 28 U.S. C 13 91.

                                              The Defendants

        3. A. (DBA) Comcast Cable Communications, LLC, foreign, registered charter at the

            Secretary of State, Georgia. Registered Agent is CT Corporation System, 289 S.

            Culver At, Lawrenceville, GA, 30046, Gwinnett Georgia, Gwinnett County and legal

            corporate mailing address at Comcast Center, 1701 JFK Boulevard, Phlladelphla, PA

            19103.

            B. Magistrate Albert L. Norton, Gwinnett County Magistrate Court


1 of9
            Case 1:21-cv-04561-ELR Document 1 Filed 11/04/21 Page 2 of 26




                                              INTRODUCTION

        4. The terms of § 1983 make plain two elements that are necessary for recovery. First, the

           plaintiff must prove that the defendant has deprived him of a right secured by the

           "Constitution and laws" of the United States. Second, the plaintiff must show that the

           defendant deprived him of this constitutional right "under color of any statute,

           ordinance, regulation, custom, or usage, of any State or Territory." This second element

           requires that the plaintiff show that the defendant acted "under color of law."

        5. To act 'under color' oflaw does not require that the accused be an officer of the State. It

           is enough that he is a willful participant in joint activity with the State or its agents,"

           United States v. Price, 383 U.S. 787, 794, 86 S. Ct. 1152, 1157, 16 L. Ed. 2d 267

           (1966).

        6. A cause of action under 42 U.S.C. § 1983 is stated only if a plaintiff alleges both that a

           defendant's action is "under color of any statute, ordinance, regulation, custom, or

           usage, of any State" and that the action subjects the plaintiff "to the deprivation of any

           rights ... secured by the Constitution and laws" of the United States. a plaintiff also

           must allege that the defendants conspired or acted jointly or in concert and that some

           overt act was done in furtherance of the conspiracy. Hoffman v. Halden, 268 F .2d 280,

           292-94 (9th Cir.Although

        7. Although the judge may be immune from suit, the private parties who conspired with

           him act "under color of state law" for purposes of section 1983 suits. See Dennis v.

            Sparks, 449 U.S. 24, 27-29, 101 S. Ct. 183, 186-87, 66 L. Ed. 2d 185 (1980)




2 of9
              Case 1:21-cv-04561-ELR Document 1 Filed 11/04/21 Page 3 of 26




                                       Statement of Facts Alleged

        8. Plaintiff commenced a claim in Magistrate Court of Gwinnett County, Ga on May 12,

             2021 case number 21-M-12968. A case arriving out of an injury incident that happen

             by returning the company's product to one of the stores of Defendant, Xfinity Comcast.

             For no reason what so ever, Plaintiff was assaulted by their employees over a mask and

             as a result they wanted to through the Plaintiff out of the store refusing to release their

             identity. Being an elder PTSD veteran Plaintiffs anxiety escalated and caused other

             mental and emotional problems. After sending notice and receiving no response,

             Plaintiff filed suit under assault, intentional harmful behavior of their employees.

        9.     On May 25, 2021, Plaintiff completed four subpoenas (see exhibit A), and had the

             Gwinnett County Sheriff to serve them upon the Defendants. 1. Since the store had

             customers, Plaintiff subpoenaed the names of a few customers from their data who

             were in the store around the same time. 2. A subpoena to produce the video footage in

             store on file that covered the incident around the time of the incident. 3. A subpoena to

             produce names and address of employees involved that was there so that Plaintiff can

             send a subpoena to them to show up at the hearing. 4. And a subpoena for a copy of

             the policy for maintaining video storage.

        10. Around June 8, 2021, Defendant' s counsel moved to file a Motion to Squash all the

             Subpoenas on the grounds of Rule 40 of the Uniform Magistrate Court Rules,

        11. Plaintiff filed an objection to that move stipulating that subpoenas did not pertain to

             O.C.G. A. 9-11-27 through 9-11-36 of Rule 40 of the Uniform Magistrate Rules, the

             Rules of Discovery and the Rule of Evidence was where subpoenas reside. A subpoena

             is governed under O.C.G.A. 24-10-20 (see exhibit B) through 24-10-29, Rules of



3 of9
            Case 1:21-cv-04561-ELR Document 1 Filed 11/04/21 Page 4 of 26




           Evidence a policy made by the legislators to compel evidence exclusively. The way the

           authority of the statute reads, if any failure those rules should be enforce.

        12. A few days before four months had passed a hearing (see exhibit C) was held on

           September 23 , 2021 at 1:30 pm in court room l(c), Gwinnett Magistrate Court and the

           subpoenas still had not been answered. When it was time for Plaintiff to deliver his

           case, the first issue Plaintiff addressed the magistrate Albert L. Norton was why

           subpoenas have not been answered and not being enforced. Mainly, O.C.G.A. 24-10-25

           (b), Enforcement of Subpoena, "no continuance shall be granted because of failure

           to respond thereto when the party obtaining them fails to present to the clerk the

           name and address of the witness so subpoenaed at least six hours before

           appearance is required. Up to this very day there were never anything filed for those

           subpoenas to the court clerk (see exhibit E, final docket).

        13. At that point, magistrate Albert L. Norton continues to proceed to hear the case

           glossing over the main issue about the failure respond subpoenas. The Defendant's

           counsel brought in two people as witnesses, and the spoiled edited video footage of the

           incidence in which at that point were considered spoiled evidence. Plaintiff objected

           while they continued their show because if the court was not going to scrutinize the

           status of those subpoenas, everything else was not relevant. Because the Gwinnett

           Magistrate Court does not entertain motions as stated under their motion rule, the court

           had to confront the failure at the hearing. Therefore, Plaintiff had no other choice but

           to wait until the hearing. At the ending of the hearing, the magistrate Albert L. Norton

           awarded victory to the Defendant' s counsel depriving Plaintiff of a statutory right of

           due process and equal protection. There ' s no other court in the State of Georgia where



4 of9
            Case 1:21-cv-04561-ELR Document 1 Filed 11/04/21 Page 5 of 26




           a party who never responded to a subpoena brings the spoil evidence in a hearing and

           win the case with no scrutiny from a court to hold such type behavior in contempt.

                      Subpoena, Policy making Authority or Discretionary Authority

        14. The Supreme Court decisional law holds that whether an official has final policy

           making authority is an issue of law to be determined by reference to state and local

           law/statutes. In O.C.G.A. 24-10-25 (b), Enforcement, clearly states "no continuance

           shall be granted because of failure to respond thereto when the party obtaining

           them fails to present to the clerk the name and address of the witness so

           subpoenaed at least six hours before appearance is required. That particular

           statement in the policy gives no authority to the court or judge to make determinations

           nor discretions. In Plaintiffs case, none of defendant's subpoenas were presented to the

           clerk. In Pembaur v.City of Cincinnati, 475 U.S. 469 (1986), a majority of the Supreme

           Court held that a single decision by an official with policy making authority in a given

           area could constitute official policy. In Pembaur, the prosecutor ordered local law

           enforcers to get two witnesses from private property. Although the local law enforcers

           had authority of a capiases for the two witnesses, they had no search warrant for the

           premises which caused the prosecutor to be liable. In Plaintiffs case, the only

           discretion given in O.C.G.A. 24-10-25 (a), is to consider whether or not the subpoena

           was served in a timely manner. If served timely and the results was a failure to

           response, the statute states that "subpoenas may be enforced by attachment for

           contempt and a fine". In Plaintiffs case, magistrate Albert L. Norton gave the win to

           the Defendant who had some of the failed evidence from Plaintiffs subpoenas which

           was a discretionary decision and not by laws of the statute.



5 of9
            Case 1:21-cv-04561-ELR Document 1 Filed 11/04/21 Page 6 of 26




                                                  The Nexus

        15. Both the defense counsel and the magistrate court judge Albert L. Norton hold bar

           cards (see exhibit F). Attorneys should know and abide by the standards of

           professional conduct as expressed in applicable law and ethical codes and opinions in

           the applicable jurisdiction. They also should not permit their professional judgment or

           obligations regarding the representation of a client to be adversely affected by loyalties

           or obligations to other, former, or potential clients; by client obligations of their law

           partners; or by their personal political, financial, business, property, or other interests or

           relationships that will cause a conflict of interest.

        16. Under a great deal of circumstances, there has to be some type relationship between the

           magistrate Albert L. Norton and the defense attorney William R. Johnson

        17. It is highly circumstantial that these two individuals mingle in private together because

           they both hold bar cards. As a magistrate who oversees claims for the Gwinnett County

           Magistrate Court, he continues to operate Norton' s Law Firm P.C. as an active bar

           member (see exhibit F). Plaintiff observed in the court room the same day the hearing

           right before his hearing and this magistrate Albert L. Norton gave every actions of that

           hearing every legitimate legal reason behind his rulings. When Plaintiff's hearing

           which was the next, the magistrate whole demeanor changed even when Plaintiff ask

           about the bases for what he was doing he refused to state any. Take a look at the

           documents from the case, the notice for hearing is not signed by the clerk, the

           magistrate' s name is nowhere to be found on the case, and he barely wanted to sign the

           judgment leaving every legal reasoning of his actions blank. When there' s no bases or

           legal reasoning to sustain a magistrate' s actions, there ' s a good chance of nefarious



6 of9
            Case 1:21-cv-04561-ELR Document 1 Filed 11/04/21 Page 7 of 26




           motives and not judicial integrity. If there were any sensible legal reasoning behind

           this magistrate's actions, this claim would never have to be filed.

                                        FIRST CAUSE OF ACTION

                  RIGHT TO DUE PROCESS OF LAW; 42 U.S.C. § 1983 FIFTH AND
                                  FOURTEENTH AMENDMENTS; ART. I
        18. Plaintiffs reallege and incorporate the allegations set forth in the preceding paragraphs as

           though fully set forth hereat. Defendants, owed Plaintiffs a duty under the due process

           clauses of the Fifth and Fourteenth Amendments to the U.S. Constitution, no states shall

           deprive any "person" of "life, liberty or property" without due process of law. magistrate

           Albert L. Norton had a duty to enforce Georgia statue 24-10-25 (b), failure to respond to

           subpoena depriving Plaintiff of a statutory due process right under color of stat law.

           Plaintiff has the right to a fair and impartial hearing in Georgia courts without being

           deprived of his due process rights and causing further harm of losing a claim.

                                        SECOND CAUSE OF ACTION

                    RIGHT TO EQUAL PROTECTION; 42 U.S.C. § 1983 FIFTH AND
                                FOURTEENTH AMENDMENTS; SECTION I
        19. Plaintiffs reallege and incorporate the allegations set forth in the preceding paragraphs as

           though fully set forth hereat.

           All persons born or naturalized in the United States, and subject to the jurisdiction

           thereof, are citizens of the United States and of the State wherein they reside. No State

           shall make or enforce any law which shall abridge the privileges or immunities of citizens

           of the United States; nor shall any State deprive any person of life, liberty, or property,

           without due process of law; nor deny to any person within its jurisdiction the equal

           protection of the laws.




7 of9
              Case 1:21-cv-04561-ELR Document 1 Filed 11/04/21 Page 8 of 26




              magistrate Albert L. Norton deprived Plaintiff of the equal protection of justice under

              color of state law from being treated in the same manner as others would be in similar

              conditions and circumstances. The statute O.C.G.A. 24-10-25 (b) was the final policy

              authority and not magistrate Albert L. Norton's discretionary decision. The statute is

              clearly indicating that the law should be enforce by all courts and judges. In the process,

              magistrate Albert L. Norton deprived Plaintiff of equal protection of justice under color

              of state law and causing further harm of losing a claim.

        20.

                                               Evidentiary
                 a. Affidavit support

                 b. Exhibit A, Subpoenas filed in the Gwinnett Magistrate Court

                 c. Exhibit B, a copy of Georgia statute O.C.G.A, 24-10-25 , Enforcement of

                      subpoenas; continuance; secondary evidence of books; papers, or documents

                 d. Exhibit C, a copy of a notice of a hearing date

                 e. Exhibit D, a copy of the judgment issued

                 f.   Exhibit E, a copy of the final court docket after judgment

                 g. Exhibit B, State Bar of Georgia active membership of both the defense attorney

                      and the magistrate as a nexus

                 h. Rule 4 of the Federal Rules of Civil Procedure Waiver of Service Comcast

                      Cable Communications LLC, certified mail #70201810000174099151 and

                      Magistrate Albert L. Norton certified mail #70190700000129745059.

                                        Plaintiff's Prayer for Relief

        21. Compensatory damages $900,000.00
        22. Litigation fees cost of getting to higher courts that make legal sense


8 of9
            Case 1:21-cv-04561-ELR Document 1 Filed 11/04/21 Page 9 of 26



        23. If any jury to hear this cause of action;

        24. For costs to be taxed to the Defendant;

        25. For pre- and post-judgment interest.

        26. For such other and further relief as the Court may deem proper; and,


        Attachment: Affidavit and Exhibit


Executed    thij/✓-~ay of       11./4 (/t:tf/,-t6tr2 021


                                                   ~~~  GHEE/ SAMUEL
                                                        P.O. Box 92120
                                                        Atlanta, Georgia 30314
                                                        Phone: 678 887-8067
                                                        gheesamuel@ yahoo.com




9 of9
     Case 1:21-cv-04561-ELR Document 1 Filed 11/04/21 Page 10 of 26




Exhibit: A


Subpoenas Filed in Gwinnett Magistrate Court
               Case 1:21-cv-04561-ELR Document 1 Filed 11/04/21 Page 11 of 26

 STATE OF GEORGIA                                                                      □   SUPERIOR COURT                              0 CIVIL DIVISION
 COUNTY OF GWINN ITT                                                                   0 STATE COURT                                   0 CRIMINAL DIVISION
                                                                                       ·Q(MAGISTRATE COURT


                                                      SUBPOENA FOR PRODUCTION OF EVIDENCE



  Plaintiff
                                                                                         Case Number:




TO WITNESS:

   NAME:                 ·~i)c E-- ,.,,ltt,,-t f-
  ADDRESS




YOU ARE HEREBY COMMANDED, laying all business aside, to produce at the time, date and place set forth
below the following documents, ele_  ctronically stored information, or objects, and permit their Inspection,
copying, testing, or sampling of the mat rial, or those set forth in an attachment: -,
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HEREIN FAIL NOT, under penalty of the law. Witness my hand and seal of this court, this the                                                                          1'5 day of
        N        1'1, 11                        / 20 2.l,
  lf you have any questions, contact Attorney
  for the Plaintiff/Defendant:

    NAME:                      : ..:•. ,· I ;>lt<t -                                                    TIANA P. GARNER, CLERK
    ADDRESS:                   \-?       ..     rs·r· _.       .,,.i .::. 1 2 i ·,                      Gwinnett County Clerk of Superior, State
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     PHONE:
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Pursuant to O.C.G.A. 2~·13-21 a subpoena must be completed prior to being served 011 a witness. Any person misusing a subpoena Is subject to
punishment for contempt of court and may be fined not more than $300 and Imprisoned for not more than 20 days, or both. Witnesses may
contact the Office of the Clerk of Court at 770.822.8100 to verify that this subpoena was issued for a valid case.
                Case 1:21-cv-04561-ELR Document 1 Filed 11/04/21 Page 12 of 26

  STATE OF GEORGIA                                                                     D SU PERIOR COURT                          □   CIVIL DIVISION
  COUNTY OF GWINNETT                                                                    0 STATE COURT                             D CRIMINAL DIVISION
                                                                                          ./
                                                                                       'QI MAGISTRATE COURT



                                                        SUBPOENA FOR PRODUCTION OF EVIDENCE

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  Plaintiff
                                                                                         Case Number:




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   lf you have any questions, contact Attorney
   for the Plaintiff/Defendant:

        NAME:                                                                                        TIANA P. GARNER, CLERK
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        PHONE:
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 Pursuant to O.C.G .A. 211-13-21 a subpoena must be completed prior to be ing served on a witness , Any person misusing a subpoena Is subject to
 punishment for contempt of court and may be fined not more than $300 and Imprisoned for not more than 20 days, or both. Witnesses may
 contact the Office of the Clerk of Court at 770.822.8100 to verify that this subpoena was issued for a valid case.
            Case 1:21-cv-04561-ELR Document 1 Filed 11/04/21 Page 13 of 26

     STATE OF GEORGIA                                                 D SUPERIOR COURT                    D CIVIL DIVISION
     COUNTY OF GWINNETT                                                D_,,STATE COURT                    D CRIMINAL DIVISION
                                                                      iZl MAGISTRATE COURT


                                            SUBPOENA FOR PRODUCTION OF EVIDENCE

4-   -> l ; 1 J _(i--1             ·    <-; fl t ~(
     Plaintiff
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                                                                       Case Number:




TO WITNESS:

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copying, testing, or sampling of the mat rial, or those set forth in an attachment: ,
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     If you have any questions, contact Attorney
     for the Plaintiff/Defendant:

      NAME:                                                                         TIANA P. GARNER, CLERK
      ADDRESS:                                                                      Gwinnett County Clerk of Superior, State
                                                                                    & Magistrate Courts
      PHONE:




 Pursuant to O.C.G.A. 2~·13-21 a subpoena must be completed prior to being served 011 a witness, Any person misusing a subpoena Is subject to
 punishment for contempt of court and may be fined not more than $300 and Imprisoned for not more than 20 days, or both. Witnesses may
 contact tile Office of the Clerk of Court at 770.822.8100 to verify that this subpoena was issued for a volld case.
          Case 1:21-cv-04561-ELR Document 1 Filed 11/04/21 Page 14 of 26

STATE OF GEORGIA                                                      D SUPERIOR COURT                     D CIVIL DIVISION
COUNTY OF GWINNETT                                                    D STATE COURT                        D CRIMINAL DIVISION
                                                                      Q(MAGISTRATE COURT


                                     SUBPOENA FOR PRODUCTION OF EVIDENCE

                                    (; Ut :1:
 Plaintiff
                                                                       Case Number:




TO WITNESS:

  NAME:
 ADDRESS




YOU ARE HEREBY COMMANDED, laying all business aside, to produce at the time, date and place set forth
below the following documents, ele_  ctronically stored information, or objects, and permit their Inspection,
copying, testing, or sampling of the matJ?rial, or those set forth in an attachment: .
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HEREIN FAIL NOT, under penalty of the law. Witness my hand and seal of this court, this the
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 If you have any questions, contact Attorney
 for the Plaintiff/Defendant:

   NAME:                                                                            TIANA P. GARNER, CLERK
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   PHONE:




Pursuant to 0.C.G.A. 2~-13-21 a subpoena must be completed prior to being served 011 a witness . Any person misusing a subpoena Is subj ect to
punishment for contempt of court and may be fined not more than $300 and Imprisoned for not more than 20 days, or both. Witnesses may
contact tile Office of the Clerk of Court at 770.822.8100 to verify that this su bpoena was issued for a valid case.
    Case 1:21-cv-04561-ELR Document 1 Filed 11/04/21 Page 15 of 26




Exhibit: B


A copy of Georgia statute O.C.G.A. 24-10-25
Enforcement of subpoenas; continuance;
secondary evidence of books, papers, or
documents
9/H/ fl, a:IIIIPM       Case 1:21-cv-04561-ELR Document 1 Filed 11/04/21 Page 16 of 26




                    View the 2019 Georgia Code I View Previous Versions of the Georgia Code


          2010Georgia Code
          TITLE 24 - EVIDENCE
          CHAPTER to-SECURING
          ATTENDANCE OF WITNESSES AND
          PRODUCTION AND PRESERVATION
          OF EVIDENCE
          ARTICLE 2 - SUBPOENAS AND
          NOTICE TO PRODUCE
          PART 1 - IN GENERAL
          § 24-10-25 -~nforcentent of
          subpoenas; continuance· secondary
          evidence of books, papers, ox.
         -docuntents
          O.C.G.A.    24-10-25 (2010)
                  Enforcement of subpoenas; continuance; secondary evidence of books, papers, or
          24-10.,.25.
          documents



          (a) Subpoenas may be enforced by attachment for contempt and by a fine not exceeding
          $300.00 and imprisonment not exceeding 20 days. In all cases under this Code section, the
          court shall consider whether under the circumstances of each case the subpoena was served
          within a reasonable time, but in any event not less than 24 hours prior to the time that


                                                                                                      1/ 2


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     Case 1:21-cv-04561-ELR Document 1 Filed 11/04/21 Page 17 of 26




Exhibit: C


A copy of a notice of a hearing date




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                      Case 1:21-cv-04561-ELR Document 1 Filed 11/04/21 Page 18 of 26
                                                               NOTICE TO APPEAR

                                        GWINNETT MAGISTRATE COURT, GEORGIA
                                        MAGISTRATE COURT CIVIL DIVISION
 GHEE VS XFINITY COMCAST PHONE AND INTERNET                                                                      21-M-12968
 COMMUNICATIONS INC

 SAMUEL GHEE
 PO BOX92120
 Atlanta GA 30314

10912312021                                         1:30 PM                                            IC

 NOTE: When you arrive, you must check the electronic boards outside of the Magistrate Court Office to
 CONF.IRJ."1 YOUR COURTROOM ASSIGNMENT.

 ALL INTERESTED PARTIES are REQUIRED to appear for trial on the date and at the time set above. Trial will be held in the
 courtroom shown in the Gwinnett Justice and Administration Center (unless otherwise indicated on the electronic boards)
 located at 75 Langley Drive, Lawrenceville, Georgia.

 If you have an attorney, you should contact him/her to be present with you in court.

           YOU WILL RECEIVE NO OTHER NOTICE.

           PLEASE BRJNG THIS COURT NOTICE WITH YOU WHEN YOU COME TO YOUR HEARJNG OR TRLAL.

           You may view the complete calendar on which this case appears at http://www.gwinnettcourts.net. Click on the
           ' Magistrate' tab (at top of page), then click on 'Trial Calendars' .

                                                         Office of the Clerk
                                                         Gwinnett Magistrate Court

                                                             CERTIFICATE OF SERVICE

            The Clerk of Magistrate Court, Gwinnett County, Georgia does hereby certify that the date of mailing and the date of
            notice to the parties is August 17, 202 I.

                                                                               TIANA P. GARNER, CLERK
                                                                               GWIN""NETT COUNTY iviAGISTRA TE COURT

 For Your Information
 Videos have bten created by both the State Administrative Office of the Courts and the Gwinnett County Magistrate Court to help non-lawyer litigants prepare for
 trials in Magistrate Court. You-may access and view these videos at www.gwinnettcounty.com; simply click on "TV Gwinnett" (located on the left hand
 side of the home page), and then click on " Video on Demand." The videos are found under the "Jury & Courts" tab. These videos answer commonly asked
 questions about how to present a case in Magistrate Court. The videos are not intended to provide, nor do they provide, legal advice. They arc meant solely to give
 litigants a general overview of what to expect in Magistrate Court. We encourage all non-lawyer litigants to review the videos in advance of their scheduled court
 date .

 Form: NMG2015.COD Rev Date: 10/05/2018, supersedes 04/0702014
     Case 1:21-cv-04561-ELR Document 1 Filed 11/04/21 Page 19 of 26




Exhibit: D


A copy of the Judgment issued
, - - - - - - - -- - - - - - - -- -- - - - - -- - - - -- - - -- - -- - - - - - -

                                  Case 1:21-cv-04561-ELR Document 1 Filed 11/04/21 Page 20 of 26
                                                                                                           GWINNETT MAGISTRATE COURT
                                                                                                           STATE OF GEORGIA

                                                      Plaintiff(s)
   vs.



                                                                                   /
                                                      Defendant(s)

                             l JJUDGMENT                [ ] CONSENT JUDGMENT                    [ ] DEFAULT JUDGMENT                  [ ] DISMISSAL
   The above case having come on regularly to be heard, the Court makes the following findings: (check only if applicable)

              [ ] Defensive pleadings filed by Defendant(s)                              [ ] Voluntary dismissal without prejudice - Statement of Claim (can b6 re-filed)
              [ ] Counterclaim filed by Defendant(s)                                     [ ] Voluntary dismissal - Counterclaim
              [ ] Plaintiff(s) appeared    [ ) Plaintiff(s) failed to appear             [ ) Stipulated settlement and dismissal
              I ] Oefendant(s) appeared [ ) Defendant(s) failed to appear                I I Contested hearing held
   IT IS ORDERED AND ADJUDGED that:
     [ ] Plaintlff(s)' statement of claim                                                     [ l Defendant(s)' counterclaim
         [ ] Dismissed for want of prosecution, without prejudice(can be refilled)                [ ] Dismissed for want of prosecution, without prejudice(can be refilled)
         [ ) Judgment is entered in favor of [ ) Plaintiff(s)      [ J Defendant(s)               [ J Judgment is entered in favor of   [ ] Plaintiff(s)   [ J Defendant(s)
     I ] Judgment (net judgment when a claim and counterclaim have been considered)                 is entered in favor of [ ] Plaintiff(s) [ ] Oefendant(s)

         against [ ] Plaintiff(s) [ ] Defendant(s),



                                                            ,~}'
         $                                   principal                         $                                 attorney's fees          Mure interest at ___% yr.

         $                                   interest                          $                                 court costs

     [ ] Other

     [ ] Said judgment shall, by [ ] the consent of both parties, [ ] order of the Court, be paid to [ ] Plaintiff [ ) Defendant, as follows:

                 [ ] periodic payments in the sum of $                                       , commencing

                     payable monthly, on the                            of each month.
                                                             ~
                 [ ] in full on or before

                 [ ] as attached/ follows:



               at the following address:                            .

                 No Fi.Fa. shall issue and no garnishment or other action may be taken on this judgment so long as payments are timely paid. Should the judgment
                 debtor(s) fail to make a payment or should payment be made more than 5 days beyond the due date, the Clerk of Magistrate Court is authorized to
                 issue a Writ of Fi.Fa. in the amount then outstanding upon written affidavit/notice from the judgment creditor that payments have not been made as
                 agreed and upon payment of the applicable Fi.Fa. fee by the judgment creditor.

               Duties of judgment creditor: Upon payment of the entire debt upon which a judgment or FiFa has been issued, the judgment creditor shall timely
               (within 60 days) direct the clerk(s) of the appropriate court(s) in writing to: (1) cancel the writ of FiFa, if a writ was issued; (2) mark the judgment
               satisfied. Failure to timely comply may subject the judgment creditor to monetary damages, O.C.GA. § 9-13-80.
                                                                                                                                                 ,.
                                                                                                                                                           (
   SO ORDERED, this ___;___Jday of_ _ _ _~ - --                              - - ' 20_ __
                                                                                                                     Magistrate
   Consented to by:




                                                                                                                                                                              •

                                                                                                                          Q:\Magforms\Forms\MA G 11-01 Civil Judgment
    Case 1:21-cv-04561-ELR Document 1 Filed 11/04/21 Page 21 of 26




Exhibit: E

A copy of the final court docket after judgment
                                                                         ,.:INNl8A - . . . YI ».TYOOIICA lt , . . . _ . , . . . . . . ,
                                 Case 1:21-cv-04561-ELR Document 1 Filed ~11/04/21
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                                                                                       Page 22 of 26
                                                                                  at-a..1196e                                                      INC

  https://researchga .tylerhost.net/CourtRecordsSearch/VlewCasePrlnt/33c2
                                                                                                 277fe15c58ebac7bb8bf4102ae39

   Case Information
   GHEE VS XFINITY COMCAST PHONE AND INTERNET COMMUNICATIONS
  21-M-12968
                                                             INC .
  Location
                                                         Case Category                                        Cese Type                                          Case Flied Date
  Gwinnett County- Magistrate Court                      Civil                                                Statement of Claim                                 5/12/2021
  Case Status
  Open (PEN)



  Partie s0
 Type                                     Name                                                            Attorneys
 DEFENDANT                                XFINITY COMCAST PHONE AND INTERNET                              WILLIAM R JOHNSON
                                          COMMUNICATIONS INC
 PLAINTIFF                                SAMUEL GHEE                                                     Pro Se

  Event s~
 Date                    Event            Type                                     Comments                                       Documents

 5/12/2021               Filing           Statement of Claim                                                                     Statement of Claim.tit
 5/27/2021              Filing            Sheriff/Marshall's Service                                                             Sheriffs Entry of Service.tit
 5/27/2021              Filing            Sheriff/Marshall's Service                                                             Sheriffs Entry of Service.tit
 5/27/2021              FIiing            Sheriff/Marshall's Service                                                             Sheriffs Entry of Service.tit
 5/27/2021              Filing            Sheriff/Marshall's Service                                                             Sheriffs Entry of Service.tit
 6/8/2021               Filing            Motion                                  Motion to Quash Subpoenas                      Motion to Quash Subpoenas.pdf
 6/8/2021               FIiing           Answer                                   Answer of Defendant Comcast                    Answer of Defendant,pdf
 6/16/2021              Filing           Document Other                           Objection s to Answer and                     attachment objections 6 15.pdf, Objections to Answer and
                                                                                  Objections to Motion to Quash                 motion to quash.pdf
                                                                                  Subpoenas
9/17/2021               FIiing           Motion to Dismiss                        Comcast Cable                Comcast's Motion to Dismiss.pd f
                                                                                  Communications, LLC's Motion
                                                                                  to Dismi ss
9/17/2021               FIiing           Proposed Order                           [Proposed] Order Granting                     Order on Comcast's Motion to Dismiss .pdf
                                                                                  Comcast's Motion to Dismiss
9/17/2021               FIiing           Brief in Support of Motion              Brief in Support of Comcast's                  Brief in Support of Comcast's Motion to Dlsmiss.pd f
                                                                                 Motion to Dismiss
9/21/2021           FIiing               Amended Statement of Claim              9212021                                        pdf copy notice of amended complalnt. pdf
9/21/2021           FIiing               Notice                                  9212021                                        notice of amended complalnt. pdf
9/24/2021           Filing              Judgment                                                                               Judgment. tit


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Version: 2021 .8.0.61                                                                                                                                                 •••(• EMPOWEREDBY
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    Case 1:21-cv-04561-ELR Document 1 Filed 11/04/21 Page 23 of 26




Exhibit: F


State Bar of Georgia active membership of both
the defense attorney and the magistrate as a
nexus
    Case 1:21-cv-04561-ELR Document 1 Filed 11/04/21 Page 24 of 26




Exhibit: F


State Bar of Georgia active membership of both
the defense attorney and the magistrate as a
nexus
t0/7 /St,•:• AM                                 ...... ....
                  Case 1:21-cv-04561-ELR Document 1 ~
                                                    Filed 11/04/21 Page 25 of 26

IOI State Bar
m of Georgia
      Mr. William R. Johnson

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          Marietta, GA 30060-8604


          Email             wrj@mijs.com


         Phone              (770)429-1499


         Fax                (770) 429-8631




      Status                                         Active Member in Good Standing


       Public Discipline                             None on Record

      Admit Date                                     06/16/1983


      Law School                                     Mercer University-W. George LS.


  , Member of the following sections:                General Practice and Trial
                                                     Product Liability
                                                     Insurance Law
9 /117 / 11:1, N :06 AM
                                                           .....   ~   .......
                            Case 1:21-cv-04561-ELR Document 1 Filed 11/04/21 Page 26 of 26

•                         Sta·t e Bar
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               Norton Law Firm PC
               Suite 6304
         ' 1000 Peachtree Industria l Blvd
               Suwanee, GA 30024


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                Phone                  (770) 826-5523


                Fax




            Status                                                 Active Memb er in Good Standing


            Public Discipline                                      None on Record


            Admit Date                                             07/20/ 1987


             Law School                                            University of South Carolina
